               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     BRYSON CITY DIVISION

                     CRIMINAL CASE NO. 2:11cr22-11


UNITED STATES OF AMERICA,                 )
                                          )
                                          )
                  vs.                     )     ORDER
                                          )
                                          )
LARRY MICHAEL WATKINS.                    )
                                          )


       THIS MATTER is before the Court on the Government’s Motion for

Preliminary Order of Forfeiture [Doc. 214], filed March 9, 2012.

I.     PROCEDURAL BACKGROUND

       On September 20, 2011, the Defendant was charged, along with ten co-

defendants, with one count of conspiracy to possess with intent to distribute

a quantity of methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and

846. [Doc. 74]. The Bill of Indictment includes a Notice of Forfeiture and

Finding of Probable Cause by the grand jury, providing that the Government

intended to seek forfeiture of all property used to or intended to be used to

facilitate the charged violation, all proceeds thereof, and any substitute

property, including $3,856.00 in United States Currency and real property

located at 140 Sherrill Road, Bryson City, North Carolina. [Id. at 2-3].



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        On December 12, 2011, the parties filed a Plea Agreement in which the

Defendant agreed to enter a voluntary plea of guilty to Count One as set forth

in the Bill of Indictment and further agreed to forfeit his interest in the above-

referenced property. [Doc. 146 at 1, 3]. The Court accepted the Defendant’s

guilty plea on January 10, 2012. [Doc. 165].

        The Government now moves for the entry of a preliminary order of

forfeiture. [Doc. 214]. The Defendant has not filed any opposition to the

Government’s Motion.

II.     ANALYSIS

        Before entering a preliminary order of forfeiture, the Court must

determine whether the “requisite nexus” exists between the property to be

seized and the offense of conviction. Fed. R. Crim. P. 32.2(b)(1)(A). The

Government bears the burden of proving nexus by a preponderance of the

evidence. See United States v. McHan, 345 F.3d 262, 268 (4th Cir. 2003).

        In the present case, the Government relies upon the Bill of Indictment,

the Plea Agreement, and the Defendant’s guilty plea in order to establish

nexus. Nothing in these pleadings or in the Defendant’s plea, however,

establishes the requisite connection between the specific property to be

forfeited and the Defendant’s offense of conviction. Merely obtaining the



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Defendant’s consent to forfeiture of his interest in certain property is not

sufficient to carry the Government’s burden. See, e.g., Libretti v. United

States, 516 U.S. 29, 43, 116 S.Ct. 356, 133 L.Ed.2d 271 (1995) (noting that

a district court is not required to “simply accept a defendant’s agreement to

forfeit property, particularly when that agreement is not accompanied by a

stipulation of facts supporting forfeiture, or when the trial judge for other

reasons finds the agreement problematic”). Here, the Government has not

offered any stipulation of facts to support the proposed forfeiture of the above-

referenced property, beyond the Defendant’s agreement to forfeit his interest

therein.   Because the Defendant’s consent alone does not establish the

requisite nexus, the Government’s motion for a preliminary order of forfeiture

will be denied without prejudice.



                                    ORDER

      IT IS, THEREFORE, ORDERED that the Government’s Motion for

Preliminary Order of Forfeiture [Doc. 214] is DENIED WITHOUT PREJUDICE.




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  IT IS SO ORDERED.

                                    Signed: April 17, 2012




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